Case 2:21-cr-20264-DPH-KGA ECF No. 133, PageID.1461 Filed 01/07/25 Page 1 of 9




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA

                                              Case No. 21-cr-20264

v.                                            HON. DENISE PAGE HOOD
                                              United States District Judge

D-1 YLLI DIDANI,
                   Defendant.



      GOVERNMENT'S RESPONSE TO DEFENDANT’S MOTION FOR
     REASONABLE ACCESS TO DISCOVERY IN PRISON (ECF No. 120)


       The defendant, Ylli Didani, seeks an order (or recommendation) from this

Court giving him access to his discovery materials “at all times” and prohibiting

“the disturbance of those materials.” (ECF No. 120, PageID.1347). According to

personnel at FCI Milan, Didani is permitted to maintain paper and electronic

discovery materials in his cell. And Didani has daily access to the computer room

to review electronic discovery. But Didani’s right to access discovery materials is

not unlimited. It must be balanced against the legitimate security needs of the

prison. FCI Milan has struck that balance. Therefore, Didani’s motion should be

denied.



                                          1
Case 2:21-cr-20264-DPH-KGA ECF No. 133, PageID.1462 Filed 01/07/25 Page 2 of 9




   I.      Background

        Ylli Didani has been detained throughout these proceedings. Since May

2021, the United States has produced 15 separate Discovery Productions. Several

of the Productions have been re-produced to Didani and his standby counsel. The

discovery material includes, among other items, law enforcement reports, iCloud

data, cellular phone extractions, evidence obtained by Mutual Legal Assistance

Treaty (MLAT), certified business records, photographs, videos, and search

warrants, and Jencks material. The United States provided early Jencks material to

Didani on or about December 27, 2024 and provided almost all of the remaining

Jencks material to Didani on January 7, 2025. All of this material was disclosed to

Didani or his prior attorneys electronically via hard drive, compact disc, thumb

drive or USAfx – an electronic file exchange system operated by the United States

government.

        On December 12, 2024, Didani sought an order or recommendation from

this Court giving him access to discovery materials at all times and prohibiting FCI

Milan from disturbing those materials. (ECF No. 120, PageID.1347). Didani

alleges that his cell was “turned over” and searched recently and that his paper

discovery materials were “jostled, shuffled and otherwise taken out of any

semblance of organization.” (Id. at PageID.1346).




                                          2
Case 2:21-cr-20264-DPH-KGA ECF No. 133, PageID.1463 Filed 01/07/25 Page 3 of 9




      This Court ordered the Government to respond to Didani’s motion by

January 7, 2025. (ECF No.125). On December 18, 2024, the Court, through its

case manager, requested that the Government incorporate FCI Milan’s input into

its written response.

      Counsel for the government spoke to FCI Milan Counselor Corey Grimm on

December 23, 2024, December 27, 2024, and on January 7, 2025. Counselor

Grimm is currently assigned to the Unit where Didani is housed. Counselor Grimm

explained that unlike most inmates, Didani is authorized to maintain his paper

discovery materials in his cell, an accommodation that required supervisory

approval. In addition, Didani is permitted to maintain the electronic discovery

materials (other than Jencks) in his cell and is allowed daily access to the facility’s

computer room where he can review it. The computer room is available for

Didani’s use daily between 6 a.m. and 8 p.m., seven days a week. But according to

Counselor Grimm, Didani does not take advantage of, or routinely utilize, the

computer room.

      With respect to the search of Didani’s cell, Counselor Grimm explained that

random cell searches are an integral security measure employed by FCI Milan to

fight against the proliferation of contraband. Its obvious utility is achieving the

goal of prison security. See generally Hudson v. Palmer, 468 U.S. 517, 536-528

(1984). Grimm confirmed that Didani’s cell was one of many cells that were


                                           3
Case 2:21-cr-20264-DPH-KGA ECF No. 133, PageID.1464 Filed 01/07/25 Page 4 of 9




searched in or about November 2024. At no time, did prison personnel jostle,

shuffle, rearrange, or otherwise disorganize Didani’s paper discovery materials.

Finally, Counselor Grimm advised that Didani, prior to filing this motion, did not

raise concerns about his access to discovery.

   II.      Argument

         Didani contends that he has a “constitutional right” to access the courts and

maintain his legal papers. (ECF No. 120, PageID.1346). This is, in essence, a claim

that he has been denied access to the Courts under the First Amendment. Muse v.

Lawson, 2020 WL 4340743, *3 (E.D. Kentucky 2020). But the right of access to

the courts extends only to an inmate's direct criminal appeal, habeas corpus

applications, and civil rights claims related to the conditions of confinement.” Id.

(citing Lewis v. Casey, 518 U.S. 343, 354-55 (1996)). Didani implicitly

acknowledges this by citing cases such as Simmons v. Dickhaut, 804 F.2d 182 (1st

Cir. 1986), a case analyzing Simmons’s § 1983 civil rights claim. The right of

access to the courts does not apply to a pro se defendant’s efforts to represent

himself at his criminal trial. United States v. Smith, 907 F. 2d 42, 44 (6th Cir.

1990).

         Didani also argues that he has “numerous rights associated with his right of

self-representation.” (ECF No. 120, PageID.1347). But Didani fares no better

under the Sixth Amendment. The Sixth Amendment provides criminal


                                            4
Case 2:21-cr-20264-DPH-KGA ECF No. 133, PageID.1465 Filed 01/07/25 Page 5 of 9




defendants with the right to waive the assistance of counsel and represent

themselves when they voluntarily elect to do so with knowledge of the

disadvantages of self-representation. Faretta v. California, 422 U.S. 806,

(1975). “Nothing in Faretta or the Sixth Amendment, however, expressly

establishes that a defendant who has knowingly elected to proceed pro se has a

right of access to a law library or legal materials.” United States v. Denton, 535

Fed.Appx. 832, 835 (11th Cir. 2013) (citing Kane v. Garcia Espitia, 546 U.S. 9, 10

(2005).

      The Ninth Circuit has held that “the Sixth Amendment demands that a pro se

defendant who is incarcerated be afforded reasonable access to law books,

witnesses, or other tools to prepare a defense.” United States v. Sarno, 73 F.3d

1470, 1491 (9th Cir. 1995). “[T]he right of access is not unlimited, but must be

balanced against the legitimate security needs or resource restraints of the

prison.” Id. at 1491. Furthermore, the Supreme Court has made clear that “[t]here

is no general constitutional right to discovery in a criminal case.” United States v.

Ruiz, 536 U.S. 622, 629, (2002). But “even assuming that pro se defendants have a

Sixth Amendment right to discovery in preparing their defense,” a defendant must

demonstrate prejudice in order to prevail on this claim. United States v. Bisong,

645 F.3d 384, 396 (D.C. Cir. 2011).




                                          5
Case 2:21-cr-20264-DPH-KGA ECF No. 133, PageID.1466 Filed 01/07/25 Page 6 of 9




       Consider United States v. Galloway, 749 F. 3d 238 (4th Cir. 2014). In that

case, Galloway argued that he was deprived of meaningful access to discovery

while he prepared his defense because the district court prevented him from taking

discovery materials to the detention center. The Fourth Circuit found that the trial

court’s limitations imposed on Galloway was reasonable in light of security issues

at federal detention facilities. Id. at 242.

       Didani’s claim that prison officials shuffled or reorganized his materials,

even if true, does not constitute denial of access. See United States v. Brugnara,

856 F.3d 1198, 1210 (9th Cir. 2017) (“The record shows only that prison personnel

disorganized them when they placed them in plastic bags before moving him to a

new facility. While undoubtedly inconvenient, this action did not prevent Brugnara

from actually accessing those materials. He has not shown that any materials were

lost or withheld, or that prison authorities otherwise impeded his access to them. In

fact, he has identified no specific prejudice at all, such as not being able to locate a

particular document necessary for trial preparation.”).

       Here, there is no evidence that Didani was denied meaningful access to his

discovery materials. Nor has he established prejudice. FCI Milan has allowed

Didani to continuously maintain hundreds (or perhaps thousands) of paper

discovery documents and hundreds of gigabytes of electronic discovery in his cell.

Didani also has access to the facility’s computer room for up to 14 hours a day,


                                               6
Case 2:21-cr-20264-DPH-KGA ECF No. 133, PageID.1467 Filed 01/07/25 Page 7 of 9




seven days a week, where he can review electronic discovery materials. As a

result, imposing a requirement, or recommendation, that FCI Milan refrain from

conducting a search of Didani’s cell, and disturbing Didani’s discovery material is

unreasonable. Random searches of inmate’s cells are exclusively related to FCI

Milan’s legitimate security interests. Furthermore, if Didani’s discovery was off

limits during random cell searches, Didani, or for that matter any inmate, could

successfully hide contraband.

          It is also unreasonable to permit Didani unlimited access to his discovery.

An incarcerated pro se defendant proceeding pro se may expect that his

incarceration might impede access to discovery. United States v. Thomas, 365 Fed.

App’x. 22, 24 (7th Cir. 2010). As noted above, Didani already has unlimited access

to his paper discovery. Didani also has wide access to the computer room to review

electronic discovery, which according to Counselor Grimm, he is not using on a

regular basis. Therefore, Didani must show that the accommodations he has

already been given and the accommodations that he could arrange for himself are

unreasonable and insufficient for fair defense. See American Senior Communities,

L.L.C. v. Burkhart, 2021 WL 9455300, *2 (1st Cir. 2021).

   III.     Conclusion

      Based on the foregoing reasons, the United States respectfully requests that

the Court deny Didani’s motion.


                                            7
Case 2:21-cr-20264-DPH-KGA ECF No. 133, PageID.1468 Filed 01/07/25 Page 8 of 9




                                          Respectfully submitted,

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Dated: January 7, 2025




                                      8
Case 2:21-cr-20264-DPH-KGA ECF No. 133, PageID.1469 Filed 01/07/25 Page 9 of 9




                          CERTIFICATE OF SERVICE

      I hereby certify that on Tuesday, January 07, 2025, I electronically filed the

foregoing document with the Clerk of the Court using the CM/ECF system which

will send notification of such filing to the following:

      Standby Counsel Wade Fink, Esq.

      I have also mailed a copy of this document to Defendant Ylli Didani at the

following address:

      Ylli Didani
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      Milan, MI 48160


                                               s/Timothy P. McDonald
                                               Timothy P. McDonald
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                                           9
